                          Case 3:21-cv-09797-LB Document 2 Filed 12/20/21 Page 1 of 3
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court               for the Northern District of California                        on the following
      4 Trademarks or
      G                       G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      3:21-cv-09797                        12/20/2021                                  for the Northern District of California
PLAINTIFF                                                                    DEFENDANT
META PLATFORMS, INC.; INSTAGRAM, LLC; and                                     DOES 1-100
WHATSAPP LLC



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1                                                                     See Attachment

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G Answer            G Cross Bill    G    Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                          DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
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META PLATFORMS, INC.; INSTAGRAM, LLC; AND WHATSAPP LLC V. DOES 1-
                              100

         REPORT ON THE FILING OR DETERMINATION OF AN
          ACTION REGARDING A PATENT OR TRADEMARK

                        Form AO 120 Attachment




TRADEMARK NO.    DATE OF TRADEMARK           HOLDER OF TRADEMARK

   4863595             12/01/2015       Instagram, LLC

   4856047             11/17/2015       Instagram, LLC


   4827509             10/06/2015       Instagram, LLC

   5566030             09/18/2018       Instagram, LLC

   4795634             08/18/2015       Instagram, LLC

   4359872             07/02/2013       WhatsApp LLC

   5520067             07/17/2018       WhatsApp LLC

   3939463             04/05/2011       WhatsApp LLC

   4083272             01/10/2012       WhatsApp LLC

   5492738             06/12/2018       WhatsApp LLC

   3934743             03/22/2011       Meta Platforms, Inc.

   3814888             07/06/2010       Meta Platforms, Inc.

   3734637             01/05/2010       Meta Platforms, Inc.

   3801147             06/08/2010       Meta Platforms, Inc.
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3041791             01/10/2006       Meta Platforms, Inc.

4471161             01/21/2014       Meta Platforms, Inc.

4339123             05/21/2013       Meta Platforms, Inc.

4392662             08/27/2013       Meta Platforms, Inc.

4449195             12/10/2013       Meta Platforms, Inc.

4099518             02/14/2012       Meta Platforms, Inc.

4102822             02/21/2012       Meta Platforms, Inc.

4102823             02/21/2012       Meta Platforms, Inc.

4102824             02/21/2012       Meta Platforms, Inc.

4639783             11/18/2014       Meta Platforms, Inc.
